
PER CURIAM.
In this Anders1 appeal, we affirm the judgment and sentence but remand for the trial court to correct the judgment to reflect a conviction for home-invasion robbery pursuant to section 812.135(2)(a), Florida Statutes (2009). See Clark v. State, 85 So.3d 1190, 1190 (Fla. 1st DCA 2012) (affirming Anders appeal but remanding for correction of scrivener’s error).
AFFIRMED and REMANDED.
PADOVANO, ROBERTS, and CLARK, JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

